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                                                                                 2016 Aug-17 PM 03:18
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

PERKINS COMMUNICATION, LLC,                  )
and MATRIX, LLC                              )
                                             )
      Plaintiffs,                            )
                                             )
v.                                           ) CASE NO.: 7:15-CV-01172-LSC
                                             )
D’SHANNON PRODUCTS, LTD,                     )
SCOTT ERICKSON,                              )
MICHAEL MOORE, and                           )
EARL RAMEY,                                  )
                                             )
      Defendants.                            )

______________________________________________________________________________

                           FIRST AMENDED COMPLAINT
______________________________________________________________________________

      Perkins Communication, LLC (hereafter “Perkins Communication”) and

Matrix, LLC (hereafter “Matrix”) (collectively, the “Plaintiffs”) respectfully

submit this First Amended Complaint pursuant to Federal Rules of Civil Procedure

8, 9, and 15 against Defendants D’Shannon Products, Ltd. (hereafter

“D’Shannon”), Scott Erickson (hereafter “Erickson”), and Michael Moore

(hereafter “Moore”). Plaintiffs hired D’Shannon to perform modifications and

upgrades to its airplane. D’Shannon used the individual Defendants to perform the

contracted work. The modifications were not done according to industry standards
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and, as a result, were done in a shoddy and dangerous manner that left the plane

unsafe to operate.

                                     PARTIES

      1.      Plaintiff Perkins Communication, LLC is an Alabama Limited

Liability Company with its principal place of business in Tuscaloosa County,

Alabama.

      2.      Plaintiff Matrix, LLC is an Alabama limited liability company with its

principle place of business in Montgomery County, Alabama.

      3.      Defendant D’Shannon Products, Ltd. is a Minnesota limited company

with its principal place of business located in Wright County, Minnesota.

      4.      Defendant Scott Erickson is an adult resident of Hennepin County,

Minnesota.

      5.      Defendant Michael Moore is an adult resident of Iredall County,

North Carolina.

                                      FACTS

      6.      Plaintiff Perkins Communication is the owner of a Beechcraft Baron

aircraft (the “Baron”). Joe Perkins (“Perkins”) uses the Baron for business

purposes involving his two wholly owned companies, Perkins Communication and

Matrix.




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      7.     In May 2013, Plaintiffs hired Defendants to perform modifications

and upgrades on the Baron. The modifications and upgrades included work on the

Baron’s windows, propellers, and engines. Specifically, Defendants installed eight

new windows and a new windshield and two new propellers. The engines were

upgraded to the Genesis Engine Conversion sold by D’Shannon, new camshaft and

lifters, new fuel systems, new starters, and baffles.

      8.     Before contracting with D’Shannon, Perkins of Perkins

Communication and Matrix inquired upon Erickson, President of D’Shannon, as to

whether or not D’Shannon had the appropriate insurance in place to cover damages

if the modifications and upgrades went badly. Erickson represented that

D’Shannon had appropriate insurance. In fact, D’Shannon had no insurance in

place during some or all the time the engines were being rebuilt.

      9.     Before the Plaintiffs contracted with D’Shannon, Erickson assured

Perkins that only Continental-approved parts would be used in the engines. In fact,

the Defendants used unauthorized parts.

      10.    Before the Plaintiffs contracted with D’Shannon, Erickson assured

Perkins that D’Shannon had a “cutting edge” engine shop. In fact, this engine shop

did not exist. The testing equipment and other tools required to run the shop had

not be purchased. The principal mechanic used on the project, Earl Ramey, had

not been hired. The parts required for the rebuild were not in their possession.


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      11.    Erickson claimed that D’Shannon’s mechanics had outstanding

experience and expertise. In fact, Erickson knew that Defendant Mike Moore had

previously had his FAA license revoked. Further, Erickson knew that Ramey had

never built an aircraft engine.

      12.    The modifications and upgrades did not go smoothly. The

modifications and upgrades were not completed on time. As a result, Plaintiffs

were required to incur costs renting other airplanes while the Baron was being

upgraded.

      13.    Defendants completed the modifications and upgrades in a shoddy

manner. Defendants repeatedly changed the specifications of the parts they were

using. According to Defendants’ documentation, parts and tools that are not

approved for use in a plane of the Baron’s make and model. The use of these

unauthorized parts rendered the Baron unairworthy. Even had the engines not

failed, they would have needed to be removed and replaced due to the use of

unauthorized parts.

      14.    Some of the engine parts were not installed according to industry

standards or Continental Motors instructions. Other parts were not bolted tightly

enough.

      15.    In late fall 2013, Defendants represented that the modifications and

upgrades were complete and that the Baron was ready for use. The installation of


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the engines was delayed because Moore refused to sign the repair logs. Moore

refused to sign the logs because he believed that Erickson lacked proper insurance

to cover him for future engine failures.

       16.    Defendants provided Plaintiffs with certifications detailing the parts

that were installed during the upgrade. Plaintiffs accepted the Baron, unaware that

the modifications and upgrades had been completed poorly.

       17.    Plaintiffs placed the Baron into operation and, at all times, Mr.

Perkins, its pilot, operated the Baron in a reasonable manner. Regular maintenance

to the Baron was conducted by Dixie Air in Tuscaloosa. None of this regular

maintenance required entry into the block of the engine modified by Defendants.

       18.    On April 22, 2015, Mr. Perkins cranked the Baron to begin a business

trip. The oil pressure in the left engine did not rise to normal levels and, in fact,

redlined. Mr. Perkins was advised by a mechanic at the airport facility to shut the

engines down. The mechanic determined that the oil pressure was, in fact, too low

to risk takeoff.

       19.    At the time of the failure, the Baron had only logged 147 hours of

flight time since the overhaul.

       20.    Subsequent investigation into the Baron’s left engine by Aviation

Engines of Centreville, Alabama (“Aviation Engines”), showed that there were

metal shards in the Baron’s oil which caused the loss of oil pressure. There were


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leaks in at least five cylinders. Metal shards were also found in the mechanisms

for one of the propellers. Aviation Engines also discovered that two of the

crankshaft gear screws were broken. These bolts and the safety wire connecting

them are the most likely source of the metal in the oil. Other screws in the

camshaft were not installed to proper tightness. Many engine parts were

discovered that were inappropriate for use in the Baron. The gears in the

crankshaft showed an unusual amount of wear for an engine with only 147 hours

of flying time. Subsequent investigation revealed that other key components of the

engine were shoddily installed. The damage caused by the engine failures led to

damage of other parts not included in the overhaul as well as the loss of both

engines and the temporary loss of use of the Baron.

      21.    As a result of Defendants’ wantonness, Plaintiffs have been forced to

spend additional funds renting replacement aircraft. Further, Plaintiffs have been

forced to spend money having the Baron repaired. Plaintiffs have also been

compelled to disassemble the Baron’s right engine to see if it was as unsafe as the

left engine which failed.

      22.    Defendants’ shoddy work was negligent, wanton, and put Mr.

Perkins’ life in danger. Had Mr. Perkins taken off, there is a very real chance that

he would not have survived the flight.




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                                      CLAIMS

      I.     NEGLIGENCE

      23.    Plaintiffs incorporate all previous paragraphs as if stated fully herein.

      24.    Defendants had a duty to perform modifications and upgrades on the

Baron in accordance with industry, manufacturer, and FAA standards. Defendants

also had a duty to properly document the repairs it performed on the Baron. They

failed to do so. As a result, Plaintiffs were damaged.

      Wherefore, Plaintiffs demand judgment against Defendants for

compensatory damages, punitive damages, and any other relief the Court deems

just under the circumstances.

      II.    WANTONNESS

      25.    Plaintiffs incorporate all previous paragraphs as if stated fully herein.

      26.    Defendants had a duty to perform modifications and upgrades on the

Baron in accordance with industry, manufacturer, and FAA standards. During the

time Defendants were modifying the Baron, it was aware that Plaintiffs intended to

use it for air travel. Flying is a dangerous activity. Defendants knew or should

have known that their shoddy repair work could lead to someone’s injury or death.

Despite this knowledge, Defendants failed to perform the upgrades in a

workmanlike manner. As a result, Plaintiffs were damaged.




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      Wherefore, Plaintiffs demand judgment against Defendants for

compensatory damages, punitive damages, and any other relief the Court deems

just under the circumstances.

      III.   BREACH OF CONTRACT

      27.    Plaintiffs incorporate all previous paragraphs as if stated fully herein.

      28.    Defendants had a contractual duty to timely complete modifications

and upgrades to the Baron. They failed to do so. As a result, Plaintiffs were

compelled to spend money renting replacement planes until the modifications and

upgrades to the Baron were complete.

      29.    Defendants also had a contractual duty to deliver engines which

complied with industry, manufacturer, and FAA standards. Instead, the

Defendants put together a product which used unapproved parts that was

unairworthy from the instant the engines were installed on the Baron.

      Wherefore, Plaintiffs demands judgment against Defendants for

compensatory damages and any other relief the Court deems just under the

circumstances.

      IV.    FRAUD

      30.    Plaintiffs incorporate all previous paragraphs as if stated fully herein.

      31.    Before contracting with Defendants, Plaintiffs asked whether

Defendants had adequate insurance to perform the work required under the


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contract. Defendants assured Perkins that they had appropriate insurance in place.

Based on this assurance, Plaintiffs contracted with the Defendants. On information

and belief, Defendants did not have appropriate insurance in place during some or

all of the time the repairs were ongoing. Plaintiffs were injured as a result of the

work Defendants performed under this fraudulently induced contract. Plaintiffs

would not have allowed Defendants to perform the work specified by the contract

had Plaintiffs known of the Defendants’ fraud.

      32.    Before the contract was formed, Defendants told Plaintiffs that they

had a cutting edge engine shop. In fact, this engine shop did not exist. The testing

equipment and other tools required to run the shop had not be purchased. The

principal mechanic used on the project, Earl Ramey, had not been hired. The parts

required for the rebuild were not in their possession. Plaintiffs relied on these

promises and were fraudulently induced to contract with the Defendants. Plaintiffs

were damaged as a result of this fraud. Plaintiffs would not have allowed

Defendants to perform the work specified by the contract had Plaintiffs known of

the Defendants’ fraud.

      33.    Before the Plaintiffs contracted with D’Shannon, Erickson assured

Perkins that only Continental-approved parts would be used in the engines. In fact,

the Defendants used unauthorized parts. Plaintiffs relied on these promises and

were fraudulently induced to contract with the Defendants. Plaintiffs were


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damaged as a result of this fraud. Plaintiffs would not have allowed Defendants to

perform the work specified by the contract had Plaintiffs known of the Defendants’

fraud.

         34.   Erickson claimed that D’Shannon’s mechanics had outstanding

experience and expertise. In fact, Erickson knew that Defendant Mike Moore had

previously had his FAA license revoked. Further, Erickson knew that Ramey had

never built an aircraft engine. Plaintiffs relied on these promises and were

fraudulently induced to contract with the Defendants. Plaintiffs were damaged as a

result of this fraud. Plaintiffs would not have allowed Defendants to perform the

work specified by the contract had Plaintiffs known of the Defendants’ fraud.

         Wherefore, Plaintiffs demand judgment against Defendants for

compensatory damages, punitive damages, and any other relief the Court deems

just under the circumstances.

                          DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury on all issues so triable.




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             Respectfully submitted this the 17th day of August, 2016.

                                            /s/ Andrew P. Campbell
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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of August 2016, I filed the foregoing
using the ECF Electronic Filing System, which will automatically serve the
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